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               United States Court of Appeals
                               For the First Circuit
                              ____________________________

No. 20-1864

       TIMOTHY NOLL, Individually and on behalf of all similarly situated individuals,

                                     Plaintiff - Appellant,

                                              v.

 FLOWERS FOODS, INC.; LEPAGE BAKERIES PARK STREET LLC; CK SALES CO., LLC,

                                  Defendants - Appellees.
                              ____________________________

                                        JUDGMENT

                                Entered: September 18, 2020
                                Pursuant to 1st Cir. R. 27.0(d)

       Upon consideration of stipulation, it is hereby ordered that this appeal be voluntarily
dismissed pursuant to Fed. R. App. P. 42(b) with each party to bear its own costs.

       Mandate to issue forthwith.


                                            By the Court:

                                            Maria R. Hamilton, Clerk


cc:
Charles E. Schaffer, Shawn J. Wanta, Scott A. Moriarity, Christopher D. Jozwiak, David M.
Cialkowski, Susan E. Ellingstad, Rachel A. Kitze Collins, Brian D. Clark, John Gordon Rudd Jr.,
Amy P. Dieterich, Frederick B. Finberg, Peter Bennett, Kevin P. Hishta, Margaret Santen
Hanrahan, C. Garner Sanford Jr., A. Craig Cleland
